Case 3:09-cv-00561-TJC-HTS Document 2 Filed 06/19/09 Page 1 of 6 PageID 7
Case 3:09-cv-00561-TJC-HTS Document 2 Filed 06/19/09 Page 2 of 6 PageID 8
Case 3:09-cv-00561-TJC-HTS Document 2 Filed 06/19/09 Page 3 of 6 PageID 9
Case 3:09-cv-00561-TJC-HTS Document 2 Filed 06/19/09 Page 4 of 6 PageID 10
Case 3:09-cv-00561-TJC-HTS Document 2 Filed 06/19/09 Page 5 of 6 PageID 11
Case 3:09-cv-00561-TJC-HTS Document 2 Filed 06/19/09 Page 6 of 6 PageID 12
